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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------------- X
                                                                                          5/23/2025
                                                                       :
METROPOLITAN TRANSPORTATION                                            :
AUTHORITY, et al.,                                                     :
                                                                       :
                                    Plaintiffs,                        :         25-cv-1413 (LJL)
                                                                       :
                  -v-                                                  :             ORDER
                                                                       :
SEAN DUFFY, et al.                                                     :
                                                                       :
                                    Defendants.                        :
                                                                       :
---------------------------------------------------------------------- X

LEWIS J. LIMAN, United States District Judge:

        The Court will hold a hearing on the pending motions for a preliminary injunction on May

27, 2025 at 10:00 AM in Courtroom 15C, 500 Pearl Street, New York, NY 10007. Each side will

have 45 minutes to present. Plaintiffs may reserve time for rebuttal.




        SO ORDERED.

Dated: May 23, 2025                                        __________________________________
       New York, New York                                             LEWIS J. LIMAN
                                                                  United States District Judge
